                                                       Case 1:23-cv-00014 Document 1-3 Filed 12/11/23 Page 1 of 1
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provided by local rules of court. This form, approved by the .ludicial (.'onference of the I Ini ted States in September 1474. is rcc]uircd for the use of the Clerk of Court for the
purpose of initiating the civ iI docket .sheet, r.S'CC /,V.S/'/^C('T/(/V.S' 0,\' ,\‘/i.\T I’.lOH Oh' THIS TOKM.)

                                 Mr^ational (CNMI) LLC,                                                                                             Commohv^aftn uasino Commission of the Commonwealth of
                                                                                                                                                    Northern Marianas Islands:


      (b) County I'f Residence of first l isted I’lainiiff                                   CNMI                                                      County of Residence of First 1 isted Defendant
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      (c)       Attoniev s iFUm Xnme.. l(W/i'.v.v, wu! Tflri’lioiir XiwiIki i
Stephen J. Nutting
Law Office of Stephen J. Nutting
6th Floor Marianas Business Plaza

II. BASIS OF.JURISDICTIO.ND/Vmv„»-.rmD/,e/fmD,,/w                                                                                  III. CITIZENSHIP OF PRINCIPAL P.VRTIES H’locctw '.V ill One lUn- lor Phuiiiill
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IV. NATURE OF SUIT ll’liice an ".V" in One Ho.\ Only)                                                                                                                                               Click here for: Nature of Suit Code Descriptions.
                 CONTRACT                                                                   TORT.S                                            FORFKITURE/PENALTY                                        BANKRUPTCY                              OTIIRR STATUTES

3     110 Insurance                                    PERSONAI, IN.n in                             PERSONAI. IN.Ildn                    1 625 Drag Related Seizure                       n ^122 Appeal 28 USC 158                   "I .'75 ihilse (.'laims Act
3     120 Marine                                  .'10 .Airi'latie                             1 .'65 Personal Injuty -                              ol Property 21 USC 881                “I 42',' Withdrawal                        ■1 .'76 Dili I am (.'I USC
1     l.'O Miller Act                          ”1 .'15 Aiiplane Product                                    I’rodiicl l.iahilily           3   640 Other                                                 28 U.SC 157                                  .'724(a))
”1 140 Negotiable Instrument                            l.iahilily                             “I    .'67 Health Care                                                                                                                 “I 400 State Reapportionment
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“I        160 Stockholders'Suits               3             5 Motor Vehicle                   “I    '71    I'nitlt in l.etuline                     Act                                   “I 862 L'lack Fung 142')                                  I’roieeiicm Act
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3         146 Franchise                                       hiiiiry                          “I '85 I'ropcdv Damage                     3 740 Railway Labor .Act                         “1 865 RSI (405|g))                                       Fxehange
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                                                     Medical Malpractice                                                                             l eave .Act                                                                      “I 841 Agrieulmral Acts
              REAL PROPERTY                             CIVIL RIGHTS                            PRISONER PETITIONS                        "1 740 Other Labor Liiigaiion                          FEDERAL TAX SUIT.S                   "I 84.' Fnvironmenlal Matters
“1210 Land Condemnation                        "I 440 Other Civil Riglits                            Hnhens Corpus:                       1 741 Hmployee Reliremetil                       1 870'raxes(lI.S. ITainlil'l'              “I      845 Freedom of Inrormation
“1 220 Foreclosure                             "1 441 Voting                                   “I 46' Alien Detainee                            Income Security .Act                                    or DcI'cndanO                                Act

“I 2'0 Rem Lease & Rjecimcnt                   “I 442 Fmploy mcnl                              “I    5 10 Motions to Vacate                                                                1 S71 IRS          third Party             ”l 846 .Arbitration
“I 240 Tons to Land                            “I 44' I lousing                                            Scmcncc                                                                                      26 USC 7604                   ”1 844 .Adminisirnliv e Procedure
71 245 Ton Product 1.lability                                 .Accommudalioiis                 “1 5'OCicncrai                                                                                                                               ●Act Review or Appeal of
“I 240 All Other Real Properly                 ”1 445 .Amcr. w Disabililic.s -                 “1 5'5 Death Penally                                  IMM1GR.AT10N                                                                           .Agency Decision
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                                               1 44<i Amcr. w Disabilities ●                   “I    540 Mamlamiis A Other                “1 465 Other Immigration                                                                                   Slate Siaiules
                                                              Other                            “I 550 Civil Rights                                  ●Actions
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                                                             Article 10 of U.S, Constitution, 5th. 14th Amendments to the U.S. Constitution                                                                                               '     ..      ■          ,       ,        ,
VI. CAUSE OF ACTION                                     77—77———r
                                                        Hriel description ol cause:
                                                                                                                                                                       ^                                      Tor the Northern Manana Islands
                                                             The Statute of $3M annual regulatory fee violates U.$. constitution, the action of CCC breached contracts.
VII. REQUESTED IN                                       □        nnX'K IL TMIS IS A CLASS ACTION                                               DLMANI) S                                                   (T ll-CK Yl'S only if demanded in complaint:
              COMPLAINT:                                         DNDIiR RUl.L 2.'. L.R.Cv.P.                                                                                                               JURY DEMAND:                                Yes             “I No

VIH. RELATED CASE(S)
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               IF AN\                                                                          .IDIKiL                                                                                           DOCKL'l       NUMBliK

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12/06/2023                                                                                          Is/ Stephen Nuttin^-^
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